    Case 19-13070 Doc 21 Filed 11/14/19 Entered 11/14/19 12:55:43 Main Document Page 1 of 5

Fill in this information to identify your case:

Debtor 1              Denischia Dawn DeCou

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF LOUISIANA                                                                        Check if this is an
                                                                                                                                                   amended filing


B 103B
Application to Have the Chapter 7 Filing Fee Waived                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).

Part 1:      Tell the Court About Your Family and Your Family's Income

1. What is the size of your                       Check all that apply:
   family?
   Your family includes you, your                       You
   spouse, and any dependents
                                                        Your spouse
   listed on Schedule J: Your
   Expenses (Official Form 106J).                       Your dependents                           1                                      2
                                                                                         How many dependents?           Total number of people

2. Fill in your family’s average                                                                                                             That person’s average
   monthly income.                                                                                                                           monthly net income
                                                                                                                                             (take-home pay)
    Include your spouse’s income if your
    spouse is living with you, even if your          Add your income and your spouse’s income. Include
    spouse is not filing.                            the value (if known) of any non-cash governmental
    Do not include your spouse’s income              assistance that you receive, such as food stamps
    if you are separated and your spouse             (benefits under the Supplemental Nutrition Assistance
    is not filing with you.                          Program) or housing subsidies.                               You................         $             2,486.53

                                                     If you have already filled out Schedule I: Your Income,
                                                     see line 10 of that schedule.                                Your spouse            +     $                 0.00

                                                                                                                  Subtotal.........            $            2,486.53

                                                     Subtract any non-cash governmental assistance that
                                                     you included above.                                                                 -     $                 0.00

                                                     Your family’s average monthly net income                     Total...............         $            2,486.53

                                                                                          Type of assistance
3. Do you receive non-cash governmental                      No                           Son has medicaid health insurance
   assistance?                                               Yes. Describe.........



4. Do you expect your family’s average                       No
   monthly net income to increase or                         Yes. Explain. ...........
   decrease by more than 10% during the
   next 6 months?

5. Tell the court why you are unable to pay the filing fee in                             I am a single parent and I have additional expenses for my
   installments within 120 days. If you have some additional                              son's education such as tutoring and registration and
   circumstances that cause you to not be able to pay your filing fee in                  tuition fees.
   installments, explain them.




B 103B (Official Form 103B)                              Application to Have the Chapter 7 Filing Fee Waived                                       page 1
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    Case 19-13070 Doc 21 Filed 11/14/19 Entered 11/14/19 12:55:43 Main Document Page 2 of 5
Debtor 1        Denischia Dawn DeCou                                               Case number (if known)    19-13070


Part 2: Tell the Court About Your Monthly Expenses
6. Estimate your average monthly expenses.

    Include amounts paid by any government assistance
    that you reported on line 2.                                        $                                   3,299.09

    If you have already filled out Schedule J, Your Expenses,
    copy line 22 from that form.

7. Do these expenses cover anyone                 No
   who is not included in your family             Yes. Identify who.....
   as reported in line 1?


8. Does anyone other than you                     No
   regularly pay any of these
   expenses?                                      Yes. How much do you regularly receive as contributions? $           0.00   monthly

    If you have already filled out
    Schedule I: Your Income, copy the
    total from line 11.

9. Do you expect your average                     No
   monthly expenses to increase or
                                                  Yes. Explain. ..........
   decrease by more than 10%
   during the next 6 months?


Part 3: Tell the Court About Your Property
If you have already filled out Schedule A/B: Property (Official Form 106A/B) attach copies to this application and go to Part 4.

10. How much cash do you have?
    Examples: Money you have in your wallet,
    in your home, and on hand when you file
    this application                                 Cash:                                $

11. Bank accounts and other
    deposits of money?                                                       Institution name:                                            Amount:
    Examples: Checking, savings,
    money market, or other financial      Checking account:                                                                               $
    accounts; certificates of deposit;
    shares in banks, credit unions,       Savings account:                                                                                $
    brokerage houses , and other          Other financial accounts:                                                                       $
    similar institutions. If you have     Other financial accounts:                                                                       $
    more than one account with the
    same institution, list each. Do
    not include 401(k) and IRA
    accounts.

12. Your home? (if you own it outright
    or are purchasing it)                                                                                                Current value:       $
                                                  Number Street
      Examples: House, condominium,                                                                                      Amount you
      manufactured home, or mobile                                                                                       owe on
      home                                                                                                               mortgage and
                                                                                                                         liens:               $
                                                  City                                 State            Zip Code

13. Other real estate?                                                                                                   Current value:       $
                                                  Number Street
                                                                                                                         Amount you
                                                                                                                         owe on
                                                                                                                         mortgage and
                                                                                                                         liens:               $
                                                  City                                 State            Zip Code

14. The vehicles you own?                     Make:                                                                      Current value:       $
                                              Model:
      Examples: Cars, vans, trucks            Year:                                                                      Amount you           $
B 103B (Official Form 103B)                            Application to Have the Chapter 7 Filing Fee Waived                                page 2
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    Case 19-13070 Doc 21 Filed 11/14/19 Entered 11/14/19 12:55:43 Main Document Page 3 of 5
Debtor 1        Denischia Dawn DeCou                                             Case number (if known)    19-13070

                                                                                                                           owe
      sports utility vehicles, motorcycles,    Mileage                                                                     on liens:
      tractors, boats
                                               Make:                                                                       Current value:        $
                                               Model:
                                               Year:                                                                       Amount you
                                                                                                                           owe                   $
                                               Mileage                                                                     on liens:

15. Other assets?                       Describe the other assets:                      Current value:                 $
    Do not include household                                                            Amount you owe
    items and clothing.                                                                 on liens:                      $

16. Money or property due you?            Who owes you the money or property?                 How much is owed?              Do you believe you will likely
                                                                                                                             receive payment in the next 180
                                                                                                                             days?
      Examples: Tax refunds, past
                                                                                                                                 No
      due or lump sum alimony,
      spousal support, child support,                                                     $                                      Yes. Explain:
      maintenance, divorce or
      property settlements, Social
      Security benefits, workers
      compensation, personal injury
      recovery                                                                            $

Part 4:       Answer These Additional Questions
17. Have you paid anyone for                   No
    services for this case,
                                               Yes. Whom did you pay? Check all that apply:                                            How much did you pay?
    including filling out this
    application, the bankruptcy                     An Attorney
    filing package, or the                          A bankruptcy petition preparer, paralegal, or typing service
    schedules?                                      Someone else
                                                                                                                                       $                       0.00

18. Have you promised to pay or                No                                                                                            How much do you
    do you expect to pay
                                               Yes. Whom do you expect to pay? Check all that apply:                                           expect to pay?
    someone for services for your
    bankruptcy case?                                An Attorney
                                                    A bankruptcy petition preparer, paralegal, or typing service
                                                    Someone else
                                                                                                                                       $                       0.00

19. Has anyone paid someone on                 No
    your behalf for services for
                                               Yes. Who was paid on your behalf?               Who paid?                                        How much did
    this case?
                                                 Check all that apply:                         Check all that apply:                        someone else pay?
                                                    An Attorney                                    Parent
                                                    A bankruptcy petition preparer,                Brother or sister
                                                paralegal, or typing service                       Friend
                                                    Someone else                                   Pastor or clergy
                                                                                                   Someone else                        $                       0.00

20. Have you filed for
                                        No                                                                             Case
    bankruptcy within the
    last 8 years?                       Yes.        District                          When                             Number
                                                                                               MM/ DD/ YYYY
                                                                                                                       Case
                                                    District                          When                             Number
                                                                                               MM/ DD/ YYYY
                                                                                                                       Case
                                                    District                          When                             Number
                                                                                               MM/ DD/ YYYY




B 103B (Official Form 103B)                           Application to Have the Chapter 7 Filing Fee Waived                                    page 3
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    Case 19-13070 Doc 21 Filed 11/14/19 Entered 11/14/19 12:55:43 Main Document Page 4 of 5
Debtor 1        Denischia Dawn DeCou                                            Case number (if known)   19-13070

Part 5:       Sign Below
  By signing here under penalty of perjury, I declare that I cannot afford to pay the filing fee either in full or in installments. I also declare that
  the information I provided in this application is true and correct.

x   /s/ Denischia Dawn DeCou                                         x
    Denischia Dawn DeCou
    Signature of Debtor 1                                                Signature of Debtor 2

    Date    November 14, 2019                                            Date




B 103B (Official Form 103B)                          Application to Have the Chapter 7 Filing Fee Waived                           page 4
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    Case 19-13070 Doc 21 Filed 11/14/19 Entered 11/14/19 12:55:43 Main Document Page 5 of 5
Debtor 1         Denischia Dawn DeCou                                          Case number (if known)   19-13070


Fill in this information to identify the case:

Debtor 1              Denischia Dawn DeCou
                      First Name                 Middle Name                Last Name
Debtor 2
(Spouse, if filing)   First Name                 Middle Name                Last Name

United States Bankruptcy Court for the:          EASTERN DISTRICT OF LOUISIANA

Case number           19-13070
  (if known)




Order on the Application to Have the Chapter 7 Filing Fee Waived

After considering the debtor’s Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B), the court orders
that the application is:


   GRANTED. However, the court may order the debtor to pay the fee in the future if developments in administering the
                     bankruptcy case show that the waiver was unwarranted.

   DENIED. The debtor must pay the filing fee according to the following terms:
                                    You must pay...                    On or before this date...
                                    $
                                                                       Month/ day/ year
                                    $
                                                                       Month/ day/ year
                                    $
                                                                       Month/ day/ year
                                 + $
                                                                       Month/ day/ year
                    Total           $

           If the debtor would like to propose a different payment timetable, the debtor must file a motion promptly with a
           payment proposal. The debtor may use Application for Individuals to Pay the Filing Fee in Installments (Official
           Form 103A) for this purpose. The court will consider it.

           The debtor must pay the entire filing fee before making any more payments or transferring any more property to
           an attorney, bankruptcy petition preparer, or anyone else in connection with the bankruptcy case. The debtor
           must also pay the entire filing fee to receive a discharge. If the debtor does not make any payment when it is due,
           the bankruptcy case may be dismissed and the debtor’s rights in future bankruptcy cases may be affected.

   Scheduled for hearing.

           A hearing to consider the debtor's application will be held
           on                             at               AM/PM at
                Month/ day/ year                                       Address of courthouse

           If the debtor does not appear at this hearing, the court may deny the application.



                                                                     By the court:
                                                                                     United States Bankruptcy Judge




B 103B (Official Form 103B)                            Application to Have the Chapter 7 Filing Fee Waived            page 5
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